                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                        CRIMINAL ACTION NO.: 3:02 CR 152-2


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                           ORDER
BOBBY LAMONT HOWIE,                 )
                                    )
            Defendant.              )
____________________________________)

        THIS MATTER is before the Court on Defendant’s “Motion for Modification of

Sentence Pursuant to 18 U.S.C. 3582(c)(2) Fed. R. Crim. Pro.,” filed February 16, 2005. The

Government has not responded and the time to do so has expired. Accordingly, this Motion is

ripe for disposition.

        On July 11, 2002, Defendant pled guilty to conspiracy to possess with intent to distribute,

and distribute, cocaine and cocaine base within 1,000 feet of a protected area, and to possession

of a firearm by a convicted felon. A Judgment was entered against Defendant on March 27,

2003, sentencing Defendant to two hundred ten (210) months incarceration. The Defendant now

asks this Court to modify his sentence pursuant to 18 U.S.C. § 3582(c)(2).

        Under 18 U.S.C. § 3582(c)(2), a court may modify an imposed term of imprisonment

where the defendant has “been sentenced to a term of imprisonment based on a sentencing range

that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. §

994(o) . . . [and] after considering the factors set forth in section 3553(a) . . . if such a reduction

is consistent with applicable policy statements issued by the Sentencing Commission.” Section




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3582(c)(2) is only applicable to instances where a defendant is sentenced and a provision in the

Sentencing Guidelines is subsequently amended, which, had the amendment occurred prior to the

defendant’s sentencing, would have resulted in a lower term of imprisonment. In such an

instance, the court has the discretion to amend the defendant’s term of imprisonment, but only

after also considering the factors listed in § 3553(a) and the policy statements issued by the

Sentencing Commission. This is not the situation now before this Court.

       Defendant refers to Amendment 599 in his motion as the amendment which entitles him

to a modification in his sentence. It is not apparent from a reading of Defendant’s motion exactly

why Amendment 599 would entitle him to such a modification. However, nonetheless, the Court

has thoroughly examined Amendment 599, other relevant provisions of the Sentencing

Guidelines, and the Judgment entered against Defendant. Nothing in any of these provisions or

in the Judgment provides any basis for modifying Defendant’s sentence.

       In addition, the Court will briefly address Defendant’s request to have counsel appointed

for purposes of his § 3582 claim. There is no constitutional right to court-appointed counsel in

proceedings post-sentencing, except for an appeal. Furthermore, the Court does not have the

funds available to provide defendants with court-appointed counsel to assist with post-sentencing

proceedings. Defendant also briefly raises an ineffective assistance of counsel claim in regards to

the attorney who represented him through his plea and sentencing, although he provides no

details other than that he would like to file such a claim. This claim should be made on direct

appeal or in a § 2255 motion to vacate or set aside the judgment.

       IT IS, THEREFORE, ORDERED that the Defendant’s Motion for Modification of

Sentence Pursuant to 18 U.S.C. 3582(c)(2) is hereby DENIED.


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                               Signed: January 30, 2006




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